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                       UNITED STATES BANKRUPTCY COURT
                               LONDON DIVISION


IN RE: Hunter Blane Martin
       Marie Jayme-Martin                              Case No. 18-60270



                           REPLY TO MOTION TO DISMISS


       Come now Hunter Blane Martin and Maria Lelita Jayme Martin, the debtors in

this matter and for their Reply to the motion of Heidi Weatherly to dismiss the matter for

cause and for bad faith, state as follows:


                               FACTUAL BACKGROUND


       In September of 2010, after the failure of a prior business enterprise, Blane and

Maria Martin, purchased a medical supply business known as Alliance Home Care from

Heidi Weatherly. As is set forth in the affidavit of the debtors, no normal documents

used in the transfer of a business were prepared. Instead, Attorney Tommie Weatherly,

husband of Heidi Weatherly, and family friend of the debtors, met with Blane and Maria

Martin and requested that the Debtors sign an agreed judgment and entry of

appearance in a case which, had apparently been filed either that same day or soon

thereafter, in the Laurel Circuit Court. The debtors were not represented by an attorney

in their negotiations with Tommie or Heidi Weatherly. According to their affidavit, they

believed that Tommie Weatherly was acting as both of their attorney. The agreed

judgment provided that if certain installments were made, that no execution would be

made on that Judgment. A copy of the complaint and agreed judgment is attached as

an exhibit to the movants motion. Heidi Weatherly took no action on this judgment until
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on or about January 2018 when she caused execution to be attempted against the

personal assets of the debtors. That execution is also attached to the motion of Heidi

Weatherly.


       The movant alleges that the debtors have insignificant debts except the debt

owed to Heidi Weatherly. In fact, Blane and Maria, in addition to the debt allegedly owed

to Heidi Weatherly, owe approximately $262,497.00 as of April 26, 2018 with accural

amount of $94,178.75, as is set forth in the proof of claim of Bank of New York filed in

this matter. Further, as testified to at the 341 hearing, he and his wife currently are

indebted to the Commonwealth of Kentucky for unpaid taxes in the approximate sum of

$34,000.00. (341 hearing 13:37).


       The movant alleges that the Debtors have failed to disclose their income. There

is no complaint that the Debtor, Maria Martin failed to fully and adequately disclose her

income as an apprentice real estate appraiser. On their Petition, Blane Martin disclosed

that at the time of the filing of the petition, he had not received a paycheck from the

roofing company he had just began working for doing appraisals. Unfortunately, this job

was only short term when the owner of that business relocated to Mississippi. (341

hearing 14:51. A major portion of the movants motion involves a misstatement that he

was working as a “furniture salesman” for his stepfather who made handmade custom

furniture. (341 hearing 6:49). According to the affidavits of the debtors, several years prior

to their filing, Blane Martin did introduce a few customers, some of which, purchased

custom furniture from his stepfather. Further, according to the affidavit of Blane Martin,

he has not sold or received any compensation for furniture sales for several years prior

to his filing of this Chapter 7 bankruptcy. That affidavit further states that he is not
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currently owed any money by his stepfather or his mother and that neither of the

debtors’ parents are holding any funds owed to them. See affidavit attached as Exhibit

A.


       The movant complains that the mother and stepfather are holding money for the

debtors which was not disclosed on the petition. A review of the tape of the 341 (22:35)

hearing however, reveals that Mr. Martin explained his testimony to clarify that the

resource he was referring to was, that if he was able to come to an agreement with the

Bank of New York on the current mortgage arrearage, his mother would attempt to

assist them financially in resuming their monthly payments. Further, that no funds were

being held for services performed by either Maria or Blane Martin but, merely as a gift to

her son and daughter-in-law. After being asked about possible money held for Blane

Martin by his mother and stepfather, (341 22:46), Mr. Martin explained that this was not

money owed to him, but instead, a statement made by his mother to assist him in

catching up on their bills. Blane Martin is the only child of Marsha Smith, a retired music

teacher who now works as the music director at St. Mildred’s Church in Somerset.

Further, the two children of Blane and Maria Martin are the only grandchildren of both

Marsha Smith and the parents of Maria Martin. A review of the checking records of the

debtors, including the records of Blaze Valley Corporation, reveal deposits made in

excess of Maria’s income. According to the affidavit of Marsha Smith, these deposits

are the result of gifts made to her only child from both her and Maria Martin’s parents.

The affidavits of Marsha Smith (Exhibit “C”), Hunter Blane Martin (Exhibit “A”), and Maria

Jayme-Martin (Exhibit “B”), are attached.
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                LEGAL STANDARD FOR DISMISSAL FOR BAD FAITH


      Admittedly, a court may dismiss a Chapter 7 filing under 11 USC 707(a). Under

the holding of In re Zick, 931 F.2d 1124, 1129 (6th Cir. 1991) it was held that “dismissal

based on lack of good faith must be undertaken on an ad hoc basis. In re Brown, 88

B.R. at 284. It should be confined carefully and is generally utilized only in those

egregious cases that entail concealed or misrepresented assets and/or sources of

income, and excessive and continued expenditures, lavish lifestyle, and intention to

avoid a large single debt based on conduct akin to fraud, misconduct, or gross

negligence.”


      The movant in this matter has previously obtained from the court an extension to

file a complaint seeking to prevent the discharge of the debtors. Significant documents

have been provided in discovery to both the office of the US Trustee and counsel for

Heidi Weatherly.    This motion to dismiss should be overruled. Should the movant

choose, a 2004 examination of the debtors should be held and if the result of that

examination reveals bad faith on the part of the debtors, then the movant can proceed

accordingly. As stated above, there is no showing or allegation that Maria Martin has

misstated her income and any dismissal of her petition would certainly be inappropriate.


      This is not a case where the debtors are accused of living an extravagant

lifestyle. Even assuming that the court accepts the movants argument that Blane Martin

had income not reported as a result of selling furniture for his father-in-law, Mr. Martin

testified that he only received income of “a few hundred dollars” from furniture sales

(341 13:01) and had no other income. Mr. Martin fully explains this relationship in detail
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in his attached affidavit. Dismissal at this stage of the proceedings should be confined

carefully and is generally utilized only in those egregious cases that entail concealed or

misrepresented assets and/or sources of income, and excessive and continued

expenditures, lavish lifestyle, and intention to avoid a large single debt based on

conduct akin to fraud, misconduct, or gross negligence. Zisk, supra.


                                         Respectfully submitted,


                                         /s/ D. Bruce Orwin
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                                         P.O. Box 716
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                                         606-678-4386
                                         Counsel for Hunter Blane Martin
                                         and Maria Jayme-Martin




                          CERTIFICATE OF SERVICE

The undersigned hereby certifies that an original was electronically filed with the Court
and copies of the foregoing were electronically mailed to Hon. Aaron Hostettler and to
Trustee, James Westenhoefer on this the 24th day of July, 2018.


                                         /s/ D. Bruce Orwin
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                                         Counsel for Hunter Blane Martin and Maria
                                         Jayme-Martin
